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 8   Co-lead Class Counsel and Attorneys for
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 9

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                       IN THE UNITED STATES DISTRICT COURT
11                          FOR THE DISTRICT OF NEVADA
12
     Kajan Johnson, Clarence Dollaway, and Tristan     Case No.: 2:21-cv-01189-RFB-BNW
13   Connelly on behalf of themselves and all others
     similarly situated,                               DECLARATION OF JOSEPH R.
14
                                                       SAVERI IN SUPPORT OF
                   Plaintiffs,
15                                                     PLAINTIFFS’ REPLY IN SUPPORT OF
            v.
                                                       PLAINTIFFS’ MOTION TO COMPEL
16                                                     DEFENDANT ENDEAVOR GROUP
     Zuffa, LLC, TKO Operating Company, LLC f/k/a
                                                       HOLDINGS, INC., TO PRODUCE
17   Zuffa Parent LLC (d/b/a Ultimate Fighting
                                                       DOCUMENTS IN RESPONSE TO
     Championship and UFC), and Endeavor Group
18                                                     PLAINTIFFS’ FIRST AND SECOND
     Holdings, Inc.,
                                                       SETS OF REQUESTS FOR
19                                                     PRODUCTION AND FOR SANCTIONS
                   Defendants.
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28                                                  Case No.: 2:21-cv-01189-RFB-BNW
        DECLARATION OF JOSEPH R. SAVERI IN SUPPORT OF PLAINTIFFS’ REPLY IN
30     SUPPORT OF MOTION TO COMPEL ENDEAVOR TO PRODUCE DOCUMENTS AND
                                 FOR SANCTIONS
31
       Case 2:21-cv-01189-RFB-BNW              Document 190-1         Filed 04/28/25      Page 2 of 2




 1          I, Joseph R. Saveri, declare and state as follows:

 2          1.      I am the founder of the Joseph Saveri Law Firm, LLP and co-lead counsel for the

 3   class and attorney for individual and representative plaintiffs, Kajan Johnson, Clarence Dollaway,

 4   and Tristan Connelly (collectively, “Plaintiffs”). I am a member in good standing of the California

 5   Bar and have been admitted pro hac vice in this court. I am over 18 years of age and have personal

 6   knowledge of the facts stated in this Declaration. If called as a witness, I could and would testify

 7   competently to them. I make this declaration pursuant to 28 U.S.C. § 1746

 8          2.      I make this Declaration in support of Plaintiffs’ Reply in Support of Plaintiffs’ Motion

 9   to Compel Defendant Endeavor Group Holdings, Inc. to Produce Documents in Response to

10   Plaintiffs’ First and Second Sets of Requests for Production and for Sanctions.

11          3.      Attached as Exhibit A is a true and correct copy of letter sent to Plaintiffs by

12   Endeavor’s counsel Jessica E. Phillips on April 7, 2025.

13          4.      Attached as Exhibit B is a true and correct copy of an email sent to Plaintiffs by

14   Defendants’ counsel Robert Medina on April 23, 2025.

15          I declare under penalty of perjury under the laws of the United States of America that the

16   foregoing is true and correct. Executed on this 28 day of April, 2025.

17                                                                        /s/ Joseph R. Saveri
                                                                          Joseph R. Saveri
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28                                         1         Case No.: 2:21-cv-01189-RFB-BNW
30    DECLARATION OF JOSEPH R. SAVERI IN SUPPORT OF PLAINTIFFS’ REPLY IN SUPPORT
          OF MOTION TO COMPEL ENDEAVOR TO PRODUCE DOCUMENTS AND FOR
31                                   SANCTIONS
